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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                :
                                        :                      Case No. 21-cr-129 (ABJ)
             v.                         :
                                        :
GABRIEL AUGUSTIN GARCIA,                :
also known as “Gabriel Agustin Garcia,” :
                                        :
                   Defendant.           :

                  GOVERNMENT’S NOTICE REGARDING VIOLATION OF
              PROTECTIVE ORDER AND MOTION FOR AN ORDER DIRECTING
                 REMOVAL FROM INTERNET OF SENSITIVE MATERIALS

         The United States, by and through its attorney, the United States Attorney for the District

of Columbia, respectfully moves this Court to enter an order directing Defendant Gabriel A. Garcia

(the “Defendant”) to remove a social media post that violates the Protective Order in this case.

         1.       On April 1, 2021, this Court signed a Protective Order governing discovery in this

case. See ECF No. 17. In relevant part, the Order limits the use, dissemination, and reproduction

of materials marked “Sensitive” or “Highly Sensitive.”

         2.       On or about June 2022, the government disclosed certain portions of the FBI file

via Relativity, the discovery platform being utilized for Capitol Breach cases. One document from

that file marked “Sensitive” has since been posted to the internet. In the accompanying comment

to the post, the Defendant indicates that he has “decided to share my arrest report” and then draws

viewers’ attention to the names and positions of certain FBI Agents and FBI Task Force Officers. 1




1
  While the Order provides in Paragraph 11 that materials “derived directly from Defendant or that pertain solely to
Defendant” (such as a defendant’s arrest records) are automatically excluded from the Order (ECF No. 17 at 5), the
discovery posted here does not pertain solely to the Defendant. The document includes, and the Defendant specifically
highlights, the identities of law enforcement officers. Whatever the Defendant’s interpretation of the consent
Protective Order, surely it protects against such careless – and dangerous - public disclosures.

                                                         1
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           3.       This unauthorized disclosure violates the Protective Order. Therefore, the

government requests that the Court enter an order directing that the post be immediately removed

and reminding the Defendant of his obligations under the Protective Order. 2


                                                                Respectfully submitted,

                                                                MATTHEW M. GRAVES
                                                                United States Attorney
                                                                D.C. Bar Number 481052

                                                     By:        /s/ Angela N. Buckner
                                                                Angela N. Buckner
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2
    The Defendant’s explicit acceptance to the terms of the Order is memorialized at ECF No. 15-2.

                                                           2
